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 5
                                 UNITED STATES DISTRICT COURT
 6
                                         DISTRICT OF ARIZONA
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 8   Oray Fifer,                                             No. CV-12-01753-PHX-NVW
 9                          Plaintiff,
10                                                           FINDINGS OF FACT AND
              v.                                             CONCLUSIONS OF LAW
11                                                           (DAMAGES)
     United States of America,                               AND ORDER
12
                            Defendants.
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              On July 28, 2017, following a three-day bench trial on liability, the Court found the
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     United States liable to Plaintiff Fifer for battery under the Federal Tort Claims Act
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     (“FTCA”) and Arizona law. (Doc. 154.) Following a bench trial on damages, the Court
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     makes the following findings of fact and states the following conclusions of law pursuant
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     to Rule 52(a)(1).
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     I.       FINDINGS OF FACT
20
              1.     On December 1, 2011, and August 30, 2012, Fifer filed an administrative
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     claim for personal injury in the amount of $500,000.00.
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              2.     Prior to Plaintiff’s arrival at FCI Phoenix, Plaintiff was blind in his right
23
     eye.
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              3.     Plaintiff is currently serving a 25-year sentence for distributing of a
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     controlled substance, conspiring to distribute a controlled substance, and carrying a
26   firearm in furtherance of a drug trafficking offense.
27            4.     On September 3, 2010, during a riot, Plaintiff was struck in the left eye with
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 1   a rubber projectile, causing permanent injury. Fifer was struck multiple times in the head
 2   and face with rubber projectiles. (Doc. 154 at 3, 6.) One hit him in the neck, one on his
 3   head, and another in his left eye. The force of the blow knocked Fifer temporarily
 4   unconscious. (Id. at 6.) When Fifer woke up, his left eye was filled with blood. Because
 5   of a previous injury to his right eye, the new injuries left Fifer unable to see out of either
 6   eye. Fifer was examined by medical staff and transported to an outside hospital, where a
 7   medical evaluation revealed that he had suffered a detached retina, contusion, and
 8   permanent scarring in his left eye resulting in partial blindness. (Id. at 7.)
 9          5.       Fifer had five surgeries to his eyes—three to his left eye and two to his right
10   eye—to restore sight to both eyes.
11          6.       The surgeries restored sight to Plaintiff’s right eye. The surgeries partially
12   restored sight to Plaintiff’s left eye, with the vision in that eye obscured with a “dot” in the

13   center of his field of vision, due to the scarring. Glasses do not diminish this effect in the

14   left eye.

15          7.       From the date of the injury up until his last surgery in 2012, he experienced

16   blurred and foggy vision, light sensitivity, partial blindness, and headaches of varying

17   intensity. He was prescribed pain medication following the incident and after each surgery.

18          8.       The Federal Bureau of Prisons (“BOP”) paid for Fifer’s surgeries. As long

19   as Fifer remains in custody, the prison will also pay for Fifer’s other medical care needs,

20   namely, his visits to the ophthalmologist and contact lenses, which he requires to see.

21   Fifer is scheduled to be released from custody in December 2020, at which time he will be

22   50 years old.

23          9.       These injuries were the proximate cause of physical pain and mental

24   anguish. The initial phase of Fifer’s injury (from September 2010 to approximately April

25   2012) was particularly painful. Because Fifer remains partially blind in his left eye, it is

26   reasonably likely that Fifer will suffer future pain and suffering as a result of the injury.

27   Fifer is entitled to receive compensation for non-economic damages, including past and

28   future pain and suffering and loss of past and future enjoyment of life.

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 1             10.   It is reasonably likely that Fifer will need contact lenses indefinitely. But it
 2   is not shown that other future substantial medical care, such as surgery, is reasonably
 3   likely.
 4             11.   Plaintiff is currently employed in the prison sewing shop, sewing flaps on
 5   pants.
 6   II.       CONCLUSIONS OF LAW
 7             12.   There are three “basic steps” for calculating pecuniary damages under the
 8   FTCA: “(1) compute the value of the plaintiff’s loss according to state law; (2) deduct
 9   federal and state taxes from the portion for lost earnings; and (3) discount the total award
10   to present value.” Shaw v. United States, 741 F.2d 1202, 1205 (9th Cir. 1984). “Arizona
11   allows unlimited recovery for actual damages, expenses for past and prospective medical
12   care, past and prospective pain and suffering, lost earnings, and diminished earning
13   capacity.” Wendelken v. Superior Court, 671 P.2d 896 (Ariz. 1983).
14             13.   Fifer does not seek economic damages. Therefore, any such damages are
15   waived. In any event, Plaintiff has not persuasively proven loss of future earning capacity.
16             14.   Award for pain and suffering is based on the record as a whole. See Jacobs v.
17   United States, 2013 WL 9639663 (D. Ariz. June 18, 2013). The total monetary value of
18   Fifer’s pain and suffering and loss of enjoyment of life resulting from this incident is
19   $75,000.00, which is a fair and just award.
20             15.   An award for future medical expenses requires persuasive evidence that “the
21   need for future care [is] reasonably probable and there [is] some evidence of the probable
22   nature and cost of the future treatment.” Saide v. Stanton, 135 Ariz. 76, 77, 659 P.2d 35,
23   36 (1983). “[T]he amount of damages may be established with proof of a lesser degree of
24   certainty than required to establish the fact of damages.” Rancho Pescado, Inc. v. Nw. Mut.
25   Life Ins. Co., 140 Ariz. 174, 184, 680 P.2d 1235, 1245 (App. 1984).            The prospect of
26   future surgery to correct his vision is only speculative.
27             16.   The value of Plaintiff’s reasonably likely future medical care for contact
28   lenses is not greater than $5,000.00.

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 1         17.    Plaintiff Fifer is entitled to judgment against the United States in the amount
 2   of $80,000.00.
 3         IT IS THEREFORE ORDERED that the Clerk of the Court enter judgment in
 4   favor of Plaintiff Oray Fifer against Defendant the United States of America in the amount
 5   of $80,000.00.
 6         The Clerk shall terminate this case.
 7         Dated: January 26, 2018.
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